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                               IN THE UNITED STATES DISTRICT COURT
                                FOR THE WESTERN DISTRICT OF TEXAS
                                         AUSTIN DIVISION

LEONARD GARCIA,                                     §
                                                    §
                  Plaintiff,                        §
                                                    §
v.                                                  §                   1:17-CV-377-RP
                                                    §
CITY OF BUDA, DEMERRIELL YOUNG,                     §
and KELLIE METZ,                                    §
                                                    §
                  Defendants.                       §

                                               ORDER

         Before the Court is a motion for summary judgment filed by Defendants City of Buda (“the

City”), DeMerriell Young (“Young”), and Kellie Metz (“Metz”) (together, “Defendants”). (Dkt. 18).

Plaintiff Leonard Garcia (“Garcia”) filed a response, (Dkt. 19), and Defendants replied, (Dkt. 20).

Having considered the parties’ briefs, the evidence, and the relevant law, the Court finds that the

motion should be granted in part and denied in part.

                                         I. BACKGROUND

         This case concerns the use of force by two City of Buda police officers against a man in his

home. (Compl., Dkt. 1, at 3–4). On January 21, 2016, Young and Metz were dispatched to Garcia’s

home to assist Child Protective Services (“CPS”) with the removal of two children from the home.

(Mot. Summ. J., Dkt. 18, at 2). After the officers were granted entrance to Garcia’s home, Young

spoke to Garcia, Garcia’s wife, and the children’s aunt in the living room about the purpose of

CPS’s visit. (Id. at 4). Young asked the family to sit on the couch while he addressed them. (Id.).

Garcia and the children’s aunt did so. (Id.). Meanwhile, Metz walked outside to get the CPS workers.

(Id. at 5).

         After Young had been speaking for about a minute, Garcia stood up from the couch and

took off his jacket. (Young bodycam, Ex. 1-D, Dkt. 18-1, at 2:10). Young commanded him several


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times to sit back down, but Garcia did not immediately comply, replying that it was his house. (Id. at

2:10–2:25). The parties characterize what happens next differently, but Young ends up on top of

Garcia on the couch as Young restrains and ultimately handcuffs him. (Id. at 2:25–3:15). Metz, who

reentered the house just as Garcia and Young began to argue, joined Young in subduing Garcia.

(Metz bodycam, Ex. 1-C, Dkt. 18-1, at 6:08–6:30). After warning Garcia that she would tase him if

he did not stop resisting, she tased him once. (Id. at 6:15–6:26). Young then took the handcuffed

Garcia to his patrol car. (Mot. Summ. J., Dkt. 18, at 7). Garcia alleges that he was injured during this

incident. (Compl., Dkt. 1, at 7–8).

        Garcia sued Young, Metz, and the City for damages resulting from this incident on April 25,

2017. (Id.). He asserts several causes of action. First, he claims Young and Metz are liable under 42

U.S.C. § 1983 (“Section 1983”) for violating his right to be free of excessive force under the Fourth

Amendment to the United States Constitution. (Id. at 6–7). Second, he claims the City is liable under

Section 1983 for failing to train and supervise Young on the appropriate use of force. (Id. at 6).

Young and Metz assert qualified immunity as a defense to Garcia’s claims. (Ans., Dkt. 6, at 5).

                                       II. LEGAL STANDARD

        Summary judgment is appropriate under Rule 56 of the Federal Rules of Civil Procedure

only “if the movant shows that there is no genuine dispute as to any material fact and the movant is

entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). A dispute is genuine only if the

evidence is such that a reasonable jury could return a verdict for the nonmoving party. Anderson v.

Liberty Lobby, Inc., 477 U.S. 242, 254 (1986). “A fact issue is ‘material’ if its resolution could affect the

outcome of the action.” Poole v. City of Shreveport, 691 F.3d 624, 627 (5th Cir. 2012).

        If the burden at trial rests on the nonmovant, the movant must merely demonstrate an

absence of evidentiary support in the record for the nonmovant’s case. Celotex Corp. v. Catrett, 477

U.S. 317, 322 (1986). Once the movant does so, the burden shifts to the nonmoving party to



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establish the existence of a genuine issue for trial. Austin v. Kroger Texas, L.P., 864 F.3d 326, 335 (5th

Cir. 2017). After the nonmovant has been given the opportunity to raise a genuine factual issue, if

no reasonable juror could find for the nonmovant, summary judgment will be granted. Miss. River

Basin Alliance v. Westphal, 230 F.3d 170, 175 (5th Cir. 2000).

        “A qualified immunity defense alters the usual summary judgment burden of proof.” Brown v.

Callahan, 623 F.3d 249, 253 (5th Cir. 2010). “Once an official pleads the defense, the burden then

shifts to the plaintiff, who must rebut the defense by establishing a genuine fact issue as to whether

the official’s allegedly wrongful conduct violated clearly established law.” Id. Even when considering

a qualified immunity defense, however, the court must view the evidence in the light most favorable

to the nonmovant and draw all inferences in the nonmovant’s favor, Rosado v. Deters, 5 F.3d 119,

122–23 (5th Cir. 1993), and cannot make credibility determinations or weigh the evidence, Reeves v.

Sanderson Plumbing Prods., Inc., 530 U.S. 133, 150 (2000).

        That said, when one party’s version of the facts “is blatantly contradicted by the record, so

that no reasonable jury could believe it, a court should not adopt that version of the facts for

purposes of ruling on a motion for summary judgment.” Scott v. Harris, 550 U.S. 372, 380 (2007).

“Although courts view evidence in the light most favorable to the nonmoving party, they give

greater weight, even at the summary judgment stage, to the facts evident from video recordings

taken at the scene. Griggs v. Brewer, 841 F.3d 308, 312 (citing Carnaby v. City of Houston, 636 F.3d 183,

187 (5th Cir. 2011)). An unclear video is not enough to discount plaintiff’s version of the facts.

Ramirez v. Martinez, 716 F.3d 369, 374 (5th Cir. 2013).

                            III. SUMMARY JUDGMENT EVIDENCE

        The parties do not dispute, and the officers’ bodycam footage shows, that Garcia met the

officers at the door, took them inside the house, and followed Young’s directions to sit on the

couch. (Young bodycam, Ex. 1-D, Dkt. 18-1, at 0:49–1:20). Metz then left the room to talk to the



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CPS workers waiting outside. (Mot. Summ. J., Dkt. 18, at 5; Metz bodycam, Ex. 1-C, Dkt. 18-1, at

5:56–5:59). As Young spoke to Garcia and his family, Garcia stood up from the couch and took a

few steps into the middle of the living room. (Young bodycam, Ex. 1-D, Dkt. 18-1, at 2:11). Young

commanded Garcia to “have a seat”; Garcia stood still and started to take off his jacket. (Id. at 2:14–

2:20). Young then approached Garcia, repeatedly telling him to “have a seat.” (Id.). Garcia took off

his jacket, asking the officer why he should sit down and responding that “this is my house.” (Id.;

Garcia Dep., Dkt. 19-1, at 60:18-20). As Young neared Garcia, Garcia turned slowly away from

Young and began moving back toward the couch. (Young bodycam, Ex. 1-D, Dkt. 18-1, at 2:20–

2:22). While Garcia’s back was turned to him, Young grabbed Garcia’s right wrist. (Metz bodycam,

Ex. 1-C, Dkt. 18-1, at 6:08). Garcia then turned back toward Young and said “this is my house” as

Young pushed him onto the couch. (Id. at 6:08–6:10). Metz was outside when she heard Young

ordering Garcia to “have a seat.” (Id. at 6:02). Metz rushed back inside just as Garcia began taking

off his jacket and Young approached Garcia. (Id. at 6:04–6:10).1

         The parties dispute what happens next. According to Garcia, Young tackled him from

behind while he was complying with Young’s commands. (Resp. Mot. Summ. J., Dkt. 19, at 3).

Young wrapped his arms around Garcia, drove him into the couch, and pinned his arms to his sides.

(Id.). He was not fighting Young or otherwise resisting. (Id. at 3, 9). Metz grabbed his hands,

threatened to tase him, and then did so while Young was still on top of him. (Id. at 3–4).




1 The parties dispute how to interpret these clearly depicted actions. Young states that Garcia displayed “fight
indicators” when he removed his coat and clenched his fists. (Mot. Summ. J., Dkt. 18, at 5). Young also states he
believed there were firearms on the premises, and so he was concerned when Garcia reached for his jacket pocket. (Id. at
4–5). Garcia, meanwhile, argues that the officers were not concerned that Garcia might have a gun because they did not
search the house for weapons and did not frisk him. (Resp. Mot. Summ. J., Dkt. 19, at 2, 7–8). He emphasizes that he
did not step towards the officer or reach for anything. (Id. at 2). He claims that he responded to Young without sitting
down because his military training taught him that it is disrespectful to speak to authority figures while seated. (Garcia
Dep., Dkt. 19-1, at 60:18–62:19). He claims that he turned around toward the couch to comply with Young’s
commands. (Resp. Mot. Summ. J., Dkt. 19, at 3). Because Garcia is the nonmovant, the Court must view the evidence in
the light most favorable to him unless the video evidence so blatantly contradicts his version of events that no
reasonable jury could believe him, which it does not. Ramirez, 716 F.3d at 374


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Defendants, meanwhile, state that once Garcia was on the couch, he refused to give up his hands

and physically resisted their attempts to restrain him. (Mot. Summ. J., Dkt. 18, at 6). They claim that

Garcia was physically resisting and that his arms were moving at the moment Metz tased him. (Id.).

        Because Garcia is the nonmovant, the Court must view the evidence in the light most

favorable to him unless the video evidence so blatantly contradicts his version of events that no

reasonable jury could believe him. Ramirez, 716 F.3d at 374. Here, the video does not so blatantly

contradict Garcia’s version of events that no reasonable jury could believe him. Young’s camera

does not capture the position or movement of Garcia’s hands for much of the period in question.

(Young bodycam, Ex. 1-D, Dkt. 18-1, at 2:24–2:55). It does show that Garcia’s left hand was free

for a moment when he initially fell onto the couch, (id. at 2:26–2:27), but then the angle of the

camera changes and little of Garcia’s body is visible, indicating that Young was positioned almost

directly above Garcia, (id. at 2:28–2:40). Metz’s video is similarly unclear. Her video shows Young

take Garcia down, but then only shows Garcia’s head pressed into the couch for several seconds.

(Metz bodycam, Ex. 1-C, Dkt. 18-1, at 6:08–6:22). Garcia was then rolled onto the floor and onto

his left shoulder, his left arm free but under his body. (Id. at 6:22–6:24). Metz said “taser” four times

in quick succession. (Id.). Garcia said, “What? I’m not doing nothing,” just before Metz deployed the

taser. (Id. at 6:24–6:25). Metz’s video shows that Garcia then yelled in pain, turned over, and was

pinned down on his stomach by Young and a third officer, Robert Blanchard. (Id. at 6:25–6:32).

                                          IV. DISCUSSION

        Garcia asserts a Section 1983 excessive force claim against Young for “taking [him] down.”

(Compl., Dkt. 1, at 6). Garcia asserts a Section 1983 excessive force claim against Metz for tasing

him while he was held down by Young. (Id. at 7). The Court will evaluate each claim in turn. See Pratt

v. Harris County, Tex., 822 F.3d 174, 181 (5th Cir. 2016) (“The reasonableness of each defendant’s

actions [should be evaluated] separately, even if those defendants acted in unison.”).



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                                             A. Officer Young

        Young argues that he is entitled to qualified immunity and summary judgment. (Mot. Summ.

J., Dkt. 18, at 15–17). Accordingly, the Court must decide (1) whether Young “violated a statutory or

constitutional right” belonging to Garcia, Morgan v. Swanson, 659 F.3d 359, 370 (5th Cir. 2011); and

(2) whether “the right was ‘clearly established’ at the time of the challenged conduct.” Id. (quoting

Ashcroft v. al-Kidd, 131 S. Ct. 2074, 2083 (2011)). The Court has the discretion to decide the order in

which to answer these two questions, Pearson v. Callahan, 555 U.S. 223, 236 (2009), and elects to do

so in the manner set forth below.

                                  1. Violation of Constitutional Right

        Garcia states he suffered physical and mental injuries after being taken down by Young.

(Compl., Dkt. 1, at 6–7). Young contends that his minimal use of force was reasonable, given

circumstances that warranted his heightened alert. (Mot. Summ. J., Dkt. 18, at 12–13). The Court

finds that Young’s conduct was excessive and unreasonable and thus violated Garcia’s right to be

free from excessive force.

        To show that Young violated Garcia’s constitutional right to be free from excessive force,

Garcia must show: “(1) an injury (2) which resulted from the use of force that was clearly excessive,

and (3) the excessiveness of which was clearly unreasonable.” Griggs v. Brewer, 841 F.3d 308, 312 (5th

Cir. 2016) (citing Poole, 691 F.3d at 628). “Excessive force claims are necessarily fact-intensive;

whether the force used is excessive or unreasonable depends on the facts and circumstances of each

particular case.” Id. “When reviewing a grant of summary judgment in the Fourth Amendment

context, after first construing disputed historical facts in favor of the non-movant, the court must

then ask how a reasonable officer would have perceived those historical facts.” Hill v. Carroll City,

Miss., 587 F.3d 230, 235 (5th Cir. 2009).




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        The Court finds sufficient evidence of an injury. Garcia testified at his deposition that his

knee was sore for several weeks because of being tackled. (Garcia Dep., Dkt. 19-1, at 121:24–

122:23). He also testified to psychological injuries. (Id. at 123:2–124:16). “Although a de minimis

injury is not cognizable, the extent of injury necessary to satisfy the injury requirement is directly

related to the amount of force that is constitutionally permissible under the circumstances.”

Alexander v. City of Round Rock, 854 F.3d 298, 309 (5th Cir. 2017) (cleaned up). “Any force found to

be objectively unreasonable necessarily exceeds the de minimis threshold.” Id. (quoting Brown v. Lynch,

524 F. App’x 69, 79 (5th Cir. 2013)). Therefore, “as long as a plaintiff has suffered ‘some injury,’

even relatively insignificant injuries and purely psychological injuries will prove cognizable when

resulting from an officer’s unreasonably excessive force.” Id. (quoting Brown, 524 F. App’x at 79).

Young does not dispute that there is evidence of some injury stemming from Young’s conduct. (See

Mot. Summ. J., Dkt. 18, at 10–13). Whether those injuries are sufficiently extensive therefore turns

on the reasonableness of Young’s conduct. Alexander, 854 F.3d at 309. For the reasons discussed

below, the Court finds that, viewing the facts in the light most favorable to Garcia, Young’s conduct

was clearly excessive and objectively unreasonable.

        “Excessive force claims are necessarily fact-intensive; whether the force used is excessive or

unreasonable depends on the facts and circumstances of each particular case.” Darden v. City of Fort

Worth, Texas, 880 F.3d 722, 728 (5th Cir. 2018) (cleaned up). In carefully reviewing the facts and

circumstances of a case, the court should consider “the totality of the circumstances, ‘including the

severity of the crime at issue, whether the suspect poses an immediate threat to the safety of the

officers or others, and whether he is actively resisting arrest or attempting to evade arrest by flight.’”

Id. at 728–29 (quoting Graham v. Connor, 490 U.S. 386, 396 (1989)). “The ‘reasonableness’ of a

particular use of force must be judged from the perspective of a reasonable officer on the scene,

rather than with the 20/20 vision of hindsight.” Id. (quoting Graham, 490 U.S. at 396). “The calculus



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of reasonableness must embody allowance for the fact that police officers are often forced to make

split-second judgments—in circumstances that are tense, uncertain, and rapidly evolving—about the

amount of force that is necessary in a particular situation.” Id. (quoting Graham, 490 U.S. at 396–97).

            The first Graham factor—the severity of the crime at issue—weighs in favor of Garcia. At

the time Young used force, Garcia was not suspected of any crime.2 When a suspect is stopped for a

minor offense such as speeding, the need for force is “substantially lower than if she had been

suspected of a serious crime.” Deville v. Marcantel, 567 F.3d 156, 167 (5th Cir. 2009). Such is the case,

to an even greater extent, when a plaintiff is not suspected of any crime prior to the use of force.

            The second Graham factor—whether Garcia posed a threat to the officers—also weighs in

Garcia’s favor. Viewing the evidence in the light most favorable to Garcia, he did not pose a threat

to Young or the other officers. Before being taken down, he did not raise his voice, step toward the

officers, or make a sudden movement. (Young bodycam, Ex. 1-D, Dkt. 18-1, at 2:14–2:20). A

reasonable jury could conclude that Garcia’s jacket removal was not threatening and that Young was

not in fact concerned about the presence of a weapon. Although Garcia initially failed to comply

with Young’s verbal commands to sit down, his initial noncompliance did not, by itself, pose a safety

threat. See Ramirez, 716 F.3d at 378 (holding that no reasonable officer could have concluded that the

plaintiff posed a safety threat to the officers when the plaintiff questioned the officers’ commands,

did not comply with verbal orders, and then pulled away from an officer’s grasp); Hanks v. Rogers,

853 F. 3d 738, 746 (holding that, where the plaintiff merely failed to comply with verbal instructions,

no reasonable officer would have perceived “an ‘immediate threat’ warranting a physical

takedown”).

            The final Graham factor—whether Garcia actively resisted arrest or attempted to flee—also

weighs in favor of Garcia. Although Garcia initially did not comply with Young’s commands to sit


2   Garcia was ultimately arrested for interfering with public duties by resisting arrest. (Resp. Mot. Summ. J., Dkt. 19, at 7).


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down, such noncompliance was only passive. “[W]here an individual’s conduct amounts to mere

‘passive resistance,’ use of force is not justified.” Trammell v. Fruge, 868 F.3d 332, 341 (5th Cir. 2017)

(citing Hanks, 853 F.3d at 746). Moreover, at the moment that Young took Garcia down, Garcia

was—viewing the facts in his favor—complying with Young’s command. Under these facts, a

reasonable jury could find that Garcia did not actively resist or attempt to flee prior to Young’s

takedown.

        Altogether, then, each Graham factor tilts in Garcia’s favor at this stage in the litigation.

Considering the totality of the circumstances, construing the evidence in Garcia’s favor, and viewing

that version of events as a reasonable officer would have, the Court finds that a reasonable jury

could determine that Young’s use of force was clearly excessive and objectively unreasonable.

                                       2. Clearly Established Law

        A clearly established right is one that is “sufficiently clear that every reasonable official

would have understood that what he is doing violates that right.” Mullenix v. Luna, 136 S. Ct. 305,

308 (2015) (quoting Reichle v. Howards, 566 U.S. 658, 664 (2012)). While there need not be “a case

directly on point . . . existing precedent must have placed the statutory or constitutional question

beyond debate.” Mullenix, 136 S. Ct. at 308 (quoting Ashcroft v. al–Kidd, 563 U.S. 731, 741

(2011)). Essentially, an officer must have “fair notice” that his actions would result in the violation

of a constitutional right. Hope v. Pelzer, 536 U.S. 730, 739 (2002).

        In the context of a pretrial motion, the Court must determine whether an officer is entitled

to qualified immunity in light of the applicable standard of review. See Tolan v. Cotton, 134 S. Ct.

1861, 1868 (2014) (holding that at summary judgment, a court cannot resolve fact disputes

pertaining to either prong of qualified immunity in favor of the moving party). The fundamental

question, then, is whether Young would have had fair notice that his actions were unreasonable,

based on the evidence viewed in the light most favorable to Garcia. Hope, 536 U.S. at 740.



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         By January 21, 2016, clearly established law demonstrated that an officer “violates the Fourth

Amendment if he abruptly resorts to overwhelming physical force rather than continuing verbal

negotiations with an individual who poses no immediate threat or flight risk, who engages in, at

most, passive resistance, and whom the officer stopped for a minor traffic violation.” Hanks, 853

F.3d at 747 (describing clearly established law as of February 2013, and citing Deville, 567 F.3d at

167–69 (denying qualified immunity where an officer making a minor traffic stop pulled the plaintiff

out of her car and threw her up against the car because she passively resisted commands and

presented no safety threat or flight risk)); Trammell, 868 F.3d at 343 (holding that “the law [as of

January 2013] clearly established that it was objectively unreasonable for several officers to tackle an

individual who was not fleeing, not violent, not aggressive, and only resisted by pulling his arm away

from an officer’s grasp”) (citing Ramirez, 716 F.3d at 379; Goodson v. City of Corpus Christi, 202 F.3d

730, 740 (5th Cir. 2000)). The facts here are not even as favorable to Young as they were to the

officers in Hanks or Trammell. Garcia was not stopped for a minor traffic violation; he was suspected

of no crime at all. See Hanks, 853 F.3d at 745. Moreover, Garcia had not actively resisted by a

physical act such as pulling his arm out of an officer’s grasp. See Trammell, 868 F.3d at 341. Just as the

law at the relevant time for those decisions—the facts of which predate the incident here—clearly

established that those officers’ conduct was proscribed by the Fourth Amendment, so too does that

law suffice to give Young fair notice that his conduct was objectively unreasonable.3 He is not

entitled to qualified immunity at this stage in the litigation, and summary judgment on Garcia’s claim

against him is unwarranted.



3 Defendants cite Carroll v. Ellington, 800 F.3d 154 (5th Cir. 2015), for the proposition that “officers are trained to use
nonlethal force to gain compliance if a subject actively resists arrest and does not comply with verbal task directions.”
(Reply Mot. Summ. J., Dkt. 20, at 3). Defendants overstate the holding of Carroll. There, the Fifth Circuit held only that
in October 2006 it was not “clearly established that using a Taser to gain compliance of a unarmed, seated suspect for
resisting arrest and failing to follow verbal commands was clearly excessive and objectively unreasonable.” Carroll, 800
F.3d at 175. The case law has become clearer in the intervening years. See Hanks, 853 F.3d at 747; Trammell, 868 F.3d at
343.


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                                                 B. Metz

         Metz argues that she is entitled to qualified immunity and summary judgment. (Mot. Summ.

J., Dkt. 18, at 15–17). As with Garcia’s claim against Young, the Court will first determine whether

Metz violated a constitutional right and then examine whether that right was clearly established prior

to Metz’s use of force.

                                  1. Violation of Constitutional Right

         Garcia states he suffered physical and mental injuries after being tased by Metz. (Compl.,

Dkt. 1, at 6–7). Metz contends that her minimal use of force was reasonable, given circumstances

that warranted her heightened alert. (Mot. Summ. J., Dkt. 18, at 12–13). The Court finds that Metz’s

conduct was excessive and unreasonable and thus violated Garcia’s right to be free from excessive

force.

         As before, Garcia must show: “(1) an injury (2) which resulted from the use of force that

was clearly excessive, and (3) the excessiveness of which was clearly unreasonable.” Griggs, 841 F.3d

at 312. Again, Court finds sufficient evidence of an injury. Garcia testified at his deposition that

being tased in his chest felt like “a fishhook” in his skin. (Garcia Dep., Dkt. 19-1, at 116:17–117:4).

He also testified to psychological injuries. (Id. at 123:2–124:16). Metz does not dispute that there is

evidence of some injury stemming from her conduct. (See Mot. Summ. J., Dkt. 18, at 10–13).

Whether those injuries are sufficiently extensive therefore turns on the reasonableness of Metz’s

conduct. Alexander, 854 F.3d at 309. For the reasons discussed below, the Court finds that, viewing

the facts in the light most favorable to Garcia, Metz’s conduct was clearly excessive and objectively

unreasonable.




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        Applying the Graham factors once again, the Court finds that the first factor weighs in

Garcia’s favor because he was suspected of no crime at the time Metz used force against him.4 The

Court finds that the second and third factors weigh in Garcia’s favor, as well. Metz claims that

Garcia was actively resisting Young and Blanchard when she warned Garcia that he would be tased,

and that she tased him because he “continue[d] to move around, preventing the other officers from

getting him restrained.” (Mot. Summ. J., Dkt. 18, at 12–13). Garcia, meanwhile, states that he was

not resisting and that in fact he could not resist because Young had wrapped his arms around Garcia

and pinned Garcia’s arms to his side. (Resp. Mot. Summ. J., Dkt. 19, at 9). No video so blatantly

contradicts Garcia’s version of events that a reasonable jury could not believe it. Scott, 550 U.S. at

380. At most, Metz’s video shows Garcia telling the officers to leave his house, asking why he would

be tased, and that his left arm was free underneath his body until he was tased. (Metz bodycam, Ex.

1-C, Dkt. 18-1, at 6:08–6:26). Even if Garcia had pulled his arms out of Young’s grasp—which the

video does not clearly show—it would be excessive and objectively unreasonable to tase him.

Ramirez, 716 F.3d at 377; Trammell, 868 F.3d at 341–42. But viewed in the light most favorable to

Garcia, he exhibited only passive resistance—not offering up his hands and questioning the officers’

authority to arrest him—which cannot justify the use of a taser to gain compliance. See Darden, 880

F.3d at 731 (“[A] constitutional violation occurs when an officer tases . . . an arrestee who is not

actively resisting arrest.”) (citing Newman v. Guedry, 703 F.3d 757, 762–63 (5th Cir. 2012)).

Altogether, then, each Graham factor tilts in Garcia’s favor at this stage in the litigation. Considering

the totality of the circumstances, construing the evidence in Garcia’s favor, and viewing Garcia’s

version of events as a reasonable officer would have, the Court finds that a reasonable jury could

determine that Metz’s use of force was clearly excessive and objectively unreasonable.



4 Metz claims that she “saw [Garcia] actively resisting” Young and Blanchard when she approached Garcia, (Mot. Summ.
J., Dkt. 18, at 12), but that fact is relevant to the second and third Graham factors, not the first.


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                                       2. Clearly Established Law

        Like Young, Metz had fair notice that her use of force was unconstitutional. The rule that “a

constitutional violation occurs when an officer tases . . . an arrestee who is not actively resisting

arrest” was clearly established as early as May 2013. Darden, 880 F.3d at 731 (citing Newman, 703 F.3d

at 762–63; Bush v. Strain, 513 F.3d 492, 502 (5th Cir. 2008)). Even under Metz’s version of events, in

which Garcia was “mov[ing] around, preventing [Young and Blanchard] from getting him

restrained,” the law was clearly established by January 2016 that it is objectively unreasonable to tase

a suspect whose resistance is limited to pulling away from an officer’s grasp. See Trammell, 868 F.3d

at 343 (citing Ramirez, 716 F.3d at 379; Goodson v. City of Corpus Christi, 202 F.3d 730, 740 (5th Cir.

2000)). Just as the law at the relevant time for Darden and Trammell—the facts of which predate the

incident here—clearly established that the conduct of the officers in those cases was proscribed by

the Fourth Amendment, so too does that law suffice to give Metz fair notice that her conduct was

objectively unreasonable. She is not entitled to qualified immunity at this stage in the litigation, and

summary judgment on Garcia’s claim against her is unwarranted.

                                              C. City of Buda

        Garcia asserts a Section 1983 claim against the City for failing to train and supervise Young

on the appropriate use of force. (Compl., Dkt. 1, at 6). According to Garcia, Young used excessive

force on another suspect in 2014, and the City did not retrain him or appropriately supervise him

after that incident. (Id. at 5–6). The City argues that it is entitled to summary judgment. (Mot. Summ.

J., Dkt. 18, at 13). The Court agrees with the City.

        To hold a municipality liable under Section 1983 for the misconduct of an employee, “a

plaintiff must show, in addition to a constitutional violation, that an official policy promulgated by

the municipality’s policymaker was the moving force behind, or actual cause of, the constitutional

injury.” James v. Harris Cty., 577 F.3d 612, 617 (5th Cir. 2009). “The official policy itself must be



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unconstitutional or, if not, must have been adopted with deliberate indifference to the known or

obvious fact that such constitutional violations would result.” Id. (citation and quotation marks

omitted). A single decision by a policy maker may, under certain circumstances, constitute a policy

for which a municipality may be liable. Brown v. Bryan County, OK, 219 F.3d 450, 462 (5th Cir. 2000).

This “single incident exception” to proving deliberate indifference is “a narrow one.” Estate of Davis

ex rel. McCully v. City of N. Richland Hills, 406 F.3d 375, 381 (5th Cir. 2005) (citations omitted). “To

rely on this exception, a plaintiff must prove that the ‘highly predictable’ consequence of a failure to

train would result in the specific injury suffered, and that the failure to train represented the ‘moving

force’ behind the constitutional violation.” Id. at 385–86 (quoting Roberts v. City of Shreveport, 397 F.3d

287, 295 (5th Cir. 2005)).

          The failure to train can amount to a policy if there is “deliberate indifference to an obvious

need for training where citizens are likely to lose their constitutional rights on account of novices in

law enforcement.” Peterson v. City of Fort Worth, Tex., 588 F.3d 838, 849 (5th Cir. 2009). “That a

particular officer may be unsatisfactorily trained will not alone suffice to fasten liability on the city.”

City of Canton, Ohio v. Harris, 489 U.S. 378, 390–91 (1989). Moreover, it does not “suffice to prove

that an injury or accident could have been avoided if an officer had had better or more training.” Id.

at 391.

          The same deliberate indifference standard applies to failure-to-supervise claims. Id. at 850.

To satisfy the deliberate indifference standard, “a plaintiff usually must demonstrate a pattern of

violations and that the inadequacy of the training”—or supervision—“is obvious and obviously

likely to result in a constitutional violation.” Estate of Davis, 406 F.3d at 381. The pattern of violations

must be “fairly similar to what ultimately transpired” in the instant case. Id. at 383.

          No reasonable jury could find that the City has been deliberately indifferent to the need to

train or supervise Young. There is no pattern of excessive force use that would obviously result in a



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constitutional violation. Peterson, 588 F.3d at 849; Estate of Davis, 406 F.3d at 381. Garcia’s only

evidence of a pattern is a single prior use of force in 2014, one that this Court determined to be

objectively reasonable as a matter of law. Martinez v. City of Buda, Texas, A-16-CA-1116-SS, 2018 WL

837609, at *5 (W.D. Tex. Feb. 13, 2018). Young has taken 16 hours of use-of-force training since

that incident. (TCOLE Report, Dkt. 1, at 6). Garcia has no evidence that those 16 hours were

missing a necessary component or were otherwise inadequate. (See Resp. Mot. Summ. J., Dkt. 19, at

4–6). A single incident can only form the basis of Garcia’s failure-to-train or failure-to-supervise

claim if it is a “highly predictable consequence” that the failure to train or supervise Young would

have resulted in this use of force. Estate of Davis, 406 F.3d at 385–86 (citation and quotation marks

omitted). No reasonable jury could conclude that the City should have expected Young to use

excessive and unreasonable force based on a single use of force that was ultimately found to be

objectively reasonable as a matter of law. Moreover, the City did train Young on using force after that

single incident, and Garcia—who has the ultimate burden of proof—has produced no evidence

sufficient to create a genuine issue of material fact as to that training’s adequacy. The City is entitled

to summary judgment on Garcia’s claim against it.

                                          V. CONCLUSION

        For the reasons given above, IT IS ORDERED that Defendants’ Motion for Summary

Judgment, (Dkt. 18), is GRANTED IN PART AND DENIED IN PART. The motion is

GRANTED insofar as the Court grants summary judgment in the City’s favor on Garcia’s claim

against it. The motion is DENIED in all other respects.




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SIGNED on December 19, 2018.




                               _____________________________________
                               ROBERT PITMAN
                               UNITED STATES DISTRICT JUDGE




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